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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ENTERTAINMENT ONE UK LTD.,

           Plaintiff,

 v.                                                           Case No.: 1:18-cv-2950

 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.

                                           COMPLAINT

       Plaintiff, ENTERTAINMENT ONE UK LTD. (“eOne” or “Plaintiff”), by its undersigned

counsel, hereby complains of the Partnerships and Unincorporated Associations identified on

Schedule A attached hereto (collectively, “Defendants”), and for its Complaint hereby alleges as

follows:

                                 JURISDICTION AND VENUE

       1.        This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., the Federal Copyright Act,

17 U.S.C. § 101, et seq., 28 U.S.C. § 1338(a)–(b) and 28 U.S.C. § 1331. This Court has jurisdiction

over the claims in this action that arise under the laws of the State of Illinois pursuant to 28 U.S.C.

§ 1367(a), because the state law claims are so related to the federal claims that they form part of

the same case or controversy and derive from a common nucleus of operative facts.

       2.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly




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target consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing infringing and/or counterfeit versions of Plaintiff’s trademarks

and/or copyright. Each of the Defendants has targeted sales from Illinois residents by operating

online stores that offer shipping to the United States, including Illinois, accept payment in U.S.

dollars and, on information and belief, has sold products bearing counterfeit versions of Plaintiff’s

federally registered trademarks and/or copyright to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused

Plaintiff substantial injury in the State of Illinois.

                                          INTRODUCTION

        3.      This action has been filed by Plaintiff to combat online counterfeiters who trade upon

Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection with

Plaintiff’s PJ MASKS trademarks, which are covered by U.S. Trademark Registration Nos.

4,986,001 and 4,815,385 (“PJ MASKS”). In addition, the Defendants are selling unauthorized

products that are based on and derived from the copyrighted subject matter created by Plaintiff,

which is covered by U.S. Copyright Registrations, hereinafter referred to as the “PJ MASKS Work”.

The Registrations are valid, subsisting, and in full force and effect. A true and correct copy of the

federal trademark registration certificates for the marks are attached hereto as Exhibit 1. A true

and correct copy of the copyright registration records for the PJ MASKS Work are attached hereto

as Exhibit 2.

        4.      The Defendants create numerous Defendant Internet Stores and design them to
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appear to be selling genuine Plaintiff products, while selling inferior imitations of Plaintiff’s

products. The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the counterfeit products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiff is forced to file this action to combat Defendants’ counterfeiting

of Plaintiff’s registered trademarks and/or copyright, as well as to protect unknowing consumers

from purchasing unauthorized PJ MASKS products over the Internet. Plaintiff has been and

continues to be irreparably damaged through consumer confusion, dilution, and tarnishment of its

valuable trademarks and/or copyright as a result of Defendants’ actions and seeks injunctive and

monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and in this

Judicial District. In addition, each defendant has offered to sell and ship infringing products into

this Judicial District.

                                         THE PLAINTIFF

        6.      Plaintiff, ENTERTAINMENT ONE UK LTD., is a Limited company having its

principal place of business in the United Kingdom. It is associated with PJ MASKS, an animated

children’s television series based on the Les Pyjamasques book by Romuald Racioppo.

ENTERTAINMENT ONE UK LTD is the producer of PJ MASKS.

        7.      PJ MASKS series debuted on Disney Junior in the United States on September 18,

2015. Since the initial launch of its original PJ MASKS brand products, the PJ MASKS trademarks
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and/or PJ MASKS Work are and have been the subject of substantial and continuous marketing

and promotion by Plaintiff. Plaintiff has and continues to widely market and promote its PJ

MASKS trademarks and/or PJ MASKS Work in the industry and to consumers. Plaintiff’s

promotional efforts include — by way of example but not limitation — substantial print media,

the PJ MASKS website and social media sites, sales materials. Below is an example of PJ MASKS

Work and PJ MASKS trademarks displayed on PJ MASKS’ official website.




       8.     The PJ MASKS trademarks are distinctive and identify the merchandise as goods

from Plaintiff. The registration for the PJ MASKS trademarks constitute prima facie evidence of

their validity and of Plaintiff’s exclusive right to use the PJ MASKS trademarks pursuant to 15

U.S.C. § 1057 (b).

      9.      The PJ MASKS trademarks have been continuously used and never abandoned.

       10.    Plaintiff has expended substantial time, money, and other resources in developing,
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advertising, and otherwise promoting the PJ MASKS trademarks and/or PJ MASKS Work. As a

result, products bearing the PJ MASKS trademarks and/or PJ MASKS Work are widely recognized

and exclusively associated by consumers, the public, and the trade as being products sourced from

Plaintiff.

                                        THE DEFENDANTS

        11.     Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

business throughout the United States, including within Illinois and in this Judicial District,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendant Internet Stores. Each Defendant targets the United States, including

Illinois, and has offered to sell and, on information and belief, has sold and continues to sell

counterfeit PJ MASKS products to consumers within the United States, including Illinois and in

this Judicial District.

                          THE DEFENDANTS’ UNLAWFUL CONDUCT

        12.     The success of the PJ MASKS brand has resulted in its counterfeiting and

infringement. Plaintiff has identified numerous domain names linked to fully interactive websites

and marketplace listings on platforms such as iOffer and Aliexpress, including the Defendant

Internet Stores, which were offering for sale, selling, and importing counterfeit and infringing PJ

MASKS products to consumers in this Judicial District and throughout the United States.

Defendants have persisted in creating the Defendant Internet Stores. Internet websites like the

Defendant Internet Stores are estimated to receive tens of millions of visits per year and to generate

over $135 billion in annual online sales. According to an intellectual property rights seizures

statistics report issued by Homeland Security, the manufacturer’s suggested retail price (MSRP)

of goods seized by the U.S. government in fiscal year 2013 was over $1.74 billion, up from $1.26
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billion in 2012. Internet websites like the Defendant Internet Stores are also estimated to contribute

to tens of thousands of lost jobs for legitimate businesses and broader economic damages such as

lost tax revenue every year.

       13.     Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine PJ MASKS products. Many of the Defendant

Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards, Western

Union and PayPal. Defendant Internet Stores often include images and design elements that make

it very difficult for consumers to distinguish such counterfeit sites from an authorized website.

Defendants further perpetuate the illusion of legitimacy by offering “live 24/7” customer service

and using indicia of authenticity and security that consumers have come to associate with

authorized retailers, including the McAfee® Security, VeriSign®, Visa®, MasterCard®, and

PayPal® logos. Plaintiff has not licensed or authorized Defendants to use its PJ MASKS

trademarks and/or PJ MASKS Work, and none of the Defendants are authorized retailers of

genuine PJ MASKS products.

       14.     Upon information and belief, Defendants also deceive unknowing consumers by

using the PJ MASKS trademarks and/or PJ MASKS Work without authorization within the content,

text, and/or meta tags of their websites to attract various search engines crawling the Internet looking

for websites relevant to consumer searches for PJ MASKS products. Additionally, upon information

and belief, Defendants use other unauthorized search engine optimization (SEO) tactics and social

media spamming so that the Defendant Internet Stores listings show up at or near the top of relevant

search results and misdirect consumers searching for genuine PJ MASKS products. Further,

Defendants utilize similar illegitimate SEO tactics to propel new domain names to the top of search

results after others are shut down. As such, Plaintiff also seeks to disable Defendant Domain
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Names owned by Defendants that are the means by which the Defendants could continue to sell

counterfeit PJ MASKS products.

       15.     Defendants often go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. For example, to avoid detection, Defendants register Defendant Domain Names using names

and physical addresses that are incomplete, contain randomly typed letters, or fail to include cities

or states. Other Defendant Domain Names often use privacy services that conceal the owners’

identity and contact information. Upon information and belief, Defendants regularly create new

websites and online marketplace accounts on various platforms using the identities listed in Schedule

A to the Complaint, as well as other unknown fictitious names and addresses. Such Defendant

Internet Store registration patterns are one of many common tactics used by the Defendants to

conceal their identities, the full scope and interworking of their massive counterfeiting operation,

and to avoid being shut down.

       16.     There are also similarities among the Defendant Internet Stores. For example, some of

the Defendant websites have virtually identical layouts. In addition, the counterfeit PJ MASKS

products for sale in the Defendant Internet Stores bear similarities and indicia of being related to one

another, suggesting that the counterfeit PJ MASKS products were manufactured by and come from

a common source and that, upon information and belief, Defendants are interrelated. The Defendant

Internet Stores also include other notable common features, including use of the same domain name

registration patterns, unique shopping cart platforms, accepted payment methods, check-out

methods, meta data, illegitimate SEO tactics, HTML user-defined variables, domain redirection,

lack of contact information, identically or similarly priced items and volume sales discounts,

similar hosting services, similar name servers, and the use of the same text and images.

       17.     Defendants in this case and defendants in other similar cases against online
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counterfeiters use a variety of other common tactics to evade enforcement efforts. For example,

counterfeiters like Defendants will often register new domain names or online marketplace

accounts under new aliases once they receive notice of a lawsuit. Counterfeiters also often move

website hosting to rogue servers located outside the United States once notice of a lawsuit is

received. Rogue servers are notorious for ignoring take down demands sent by brand owners.

Counterfeiters also typically ship products in small quantities via international mail to minimize

detection by U.S. Customs and Border Protection. A 2012 U.S. Customs and Border Protection

report on seizure statistics indicated that the Internet has fueled “explosive growth” in the number

of small packages of counterfeit and infringing goods shipped through the mail and express

carriers.

        18.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can continue

operation in spite of Plaintiff’s enforcement efforts. Upon information and belief, Defendants

maintain off-shore bank accounts and regularly move funds from their PayPal accounts to off-shore

bank accounts outside the jurisdiction of this Court. Indeed, analysis of PayPal transaction logs from

previous similar cases indicates that offshore counterfeiters regularly move funds from U.S.-based

PayPal accounts to China-based bank accounts outside the jurisdiction of this Court.

        19.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use the PJ MASKS trademarks and/or PJ MASKS Work in

connection with the advertisement, distribution, offering for sale, and sale of counterfeit PJ

MASKS products into the United States and Illinois over the Internet. Each Defendant Internet

Store offers shipping to the United States, including Illinois, and, on information and belief, each

Defendant has offered to sell counterfeit and infringing PJ MASKS products into the United States,

including Illinois.
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       20.     Defendants’ use of the PJ MASKS trademarks and/or PJ MASKS Work in

connection with the advertising, distribution, offering for sale, and sale of counterfeit PJ MASKS

products, including the sale of counterfeit and infringing PJ MASKS products into Illinois, is likely

to cause and has caused confusion, mistake, and deception by and among consumers and is

irreparably harming Plaintiff.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       21.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       22.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered PJ MASKS trademarks

in connection with the sale, offering for sale, distribution, and/or advertising of infringing goods.

The PJ MASKS trademarks are highly distinctive marks. Consumers have come to expect the

highest quality from Plaintiff’s products provided under the PJ MASKS trademarks.

       23.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products in connection with

the PJ MASKS trademarks without Plaintiff’s permission.

       24.     Plaintiff is the exclusive owner of the PJ MASKS trademarks. Plaintiff’s United

States Registration for the PJ MASKS trademarks (Exhibit 1) are in full force and effect. Upon

information and belief, Defendants have knowledge of Plaintiff’s rights in the PJ MASKS

trademarks and are willfully infringing and intentionally using counterfeits of the PJ MASKS

trademarks. Defendants’ willful, intentional and unauthorized use of the PJ MASKS trademarks

are likely to cause and is causing confusion, mistake, and deception as to the origin and quality of

the counterfeit goods among the general public.
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       25.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       26.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its well-

known PJ MASKS trademarks.

        27.     The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell,

and sale of counterfeit PJ MASKS products.

                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       28.     Plaintiff repleads and incorporates by reference each and every allegation

set forth in the preceding paragraphs as if fully set forth herein.

       29.     Defendants’ promotion, marketing, offering for sale, and sale of counterfeit PJ

MASKS products has created and is creating a likelihood of confusion, mistake, and deception among

the general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ counterfeit PJ MASKS products by Plaintiff.

       30.     By using the PJ MASKS trademarks in connection with the sale of counterfeit PJ

MASKS products, Defendants create a false designation of origin and a misleading representation

of fact as to the origin and sponsorship of the counterfeit PJ MASKS products.

       31.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the counterfeit PJ MASKS products to the general public is a willful

violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       32.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.
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                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

          33.   Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

          34.   Defendants have engaged in acts violating Illinois law including, but not limited to,

passing off their counterfeit PJ MASKS products as those of Plaintiff, causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine PJ

MASKS products, representing that their products have Plaintiff’s approval when they do not, and

engaging in other conduct which creates a likelihood of confusion or misunderstanding among the

public.

          35.   The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

          36.   Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                   COUNT IV
                     COPYRIGHT INFRINGEMENT 17 U.S.C. § 501(a)

          37.   Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

          38.   PJ MASKS significant value and have been produced and created at considerable

expense.

          39.   At all relevant times, Plaintiff has been the holder of the pertinent exclusive rights
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infringed by Defendants, as alleged hereunder, including but not limited to the copyrighted PJ

MASKS, including derivative works. PJ MASKS are the subject of valid Certificate of Copyright

Registrations issued by the Register of Copyrights. (Exhibit 2). The copyrighted characters include

a copyright notice advising the viewer that the PJ MASKS Work is protected by the Copyright

Laws.

        40.     Each Defendant, without the permission or consent of the Plaintiff, has, and

continues to sell online infringing derivative works of the copyrighted PJ MASKS Work. Each

Defendant has violated Plaintiff’s exclusive rights of reproduction and distribution. Each

Defendant’s actions constitute infringement of Plaintiff’s exclusive rights protected under the

Copyright Act (17 U.S.C. §101 et seq.).

        41.     The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts and have been willful, intentional, and in disregard of and with indifference to the

rights of the Plaintiff.

        42.     As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under

copyrights, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to its attorneys’ fees and

costs pursuant to 17 U.S.C. §505.

        43.     The conduct of each Defendant is causing and, unless enjoined and restrained by this

Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be compensated

or measured in money. Plaintiff have no adequate remedy at law. Pursuant to 17 U.S.C. §§502 and

503, Plaintiff is entitled to injunctive relief prohibiting each Defendant from further infringing

Plaintiff’s copyright and ordering that each Defendant destroy all unauthorized copies.

                                      PRAYER FOR RELIEF

    WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

        1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,
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confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily preliminarily, and permanently enjoined and restrained from:

       a. using the PJ MASKS trademarks and/or PJ MASKS Work or any reproductions,

           counterfeit copies, or colorable imitations thereof in any manner in connection with the

           distribution, marketing, advertising, offering for sale, or sale of any product that is not

           a genuine PJ MASKS product or is not authorized by Plaintiff to be sold in connection

           with the PJ MASKS trademarks and/or PJ MASKS Work;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine PJ

           MASKS product or any other product produced by Plaintiff that is not Plaintiff’s or not

           produced under the authorization, control, or supervision of Plaintiff and approved by

           Plaintiff for sale under the PJ MASKS trademarks and/or PJ MASKS Work;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           counterfeit PJ MASKS products are those sold under the authorization, control, or

           supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected with

           Plaintiff;

       d. further infringing the PJ MASKS trademarks and/or PJ MASKS Work and damaging

           Plaintiff’s goodwill;

       e. otherwise competing unfairly with Plaintiff in any manner;

       f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or inventory

           not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

           for sale, and which bear any Plaintiff trademarks, including the PJ MASKS trademarks

           and/or PJ MASKS Work, or any reproductions, counterfeit copies, or colorable

           imitations thereof;
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       g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

           Online Marketplace Accounts, the Defendant Domain Names, or any other domain

           name or online marketplace account that is being used to sell or is the means by which

           Defendants could continue to sell counterfeit PJ MASKS products; and

       h. operating and/or hosting websites at the Defendant Domain Names and any other domain

           names registered or operated by Defendants that are involved with the distribution,

           marketing, advertising, offering for sale, or sale of any product bearing the PJ MASKS

           trademarks and/or PJ MASKS Work or any reproduction, counterfeit copy or colorable

           imitation thereof that is not a genuine PJ MASKS product or not authorized by Plaintiff to

           be sold in connection with the PJ MASKS trademarks and/or PJ MASKS Work; and

       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph 1,

a through h, above;

       3) Entry of an Order that, at Plaintiff’s choosing, the registrant of the Defendant Domain

Names shall be changed from the current registrant to Plaintiff, and that the domain name registries

for the Defendant Domain Names, including, but not limited to, VeriSign, Inc., Neustar, Inc.,

Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and change

the registrar of record for the Defendant Domain Names to a registrar of Plaintiff’s selection, and

that the domain name registrars take any steps necessary to transfer the Defendant Domain Names

to a registrar of Plaintiff’s selection; or that the same domain name registries shall disable the

Defendant Domain Names and make them inactive and untransferable;

       4) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as iOffer and Alibaba
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Group Holding Ltd., Alipay.com Co., Ltd. and any related Alibaba entities (collectively,

“Alibaba”), social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search

engines such as Google, Bing and Yahoo, web hosts for the Defendant Domain Names, and domain

name registrars, shall:

        a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit PJ MASKS products using the PJ MASKS trademarks

           and/or PJ MASKS Work, including any accounts associated with the Defendants listed

           on Schedule A;

        b. disable and cease displaying any advertisements used by or associated with Defendants

           in connection with the sale of counterfeit and infringing PJ MASKS products using the

           PJ MASKS trademarks and/or PJ MASKS Work; and

        c. take all steps necessary to prevent links to the Defendant Domain Names identified on

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant Domain Names from any search index; and

        5) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of the PJ MASKS trademarks be increased by a sum not exceeding three times the

amount thereof as provided by 15 U.S.C. § 1117;

        6) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c)(2) of $2,000,000 for each and every use of the PJ MASKS trademarks and/or PJ MASKS

Work;

        7) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

        8) Award any and all other relief that this Court deems just and proper.
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DATED: April 25, 2018                       Respectfully submitted,

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